
BERZON, Circuit Judge,
dissenting.
I dissent. Because I believe the officer’s warrantless search of the apartment cannot be justified under the Fourth Amendment’s “exigent circumstances” exception to the warrant requirement, I would reverse the district court’s decision to deny Black’s motion to suppress and overturn his conviction.1
I begin by emphasizing the “heavy burden” that the government bears when trying to prove exigent circumstances. See United States v. Howard, 828 F.2d 552, 555 (9th Cir.1987) (citing United States v. Licata, 761 F.2d 537, 543 (9th Cir.1985)). Exigent circumstances are “those circumstances that would cause a reasonable person to believe that entry ... was necessary to prevent physical harm to the officers or other persons, the destruction of relevant evidence, the escape of the suspect, or some other consequence improperly frustrating legitimate law enforcement efforts.” United States v. Brooks, 367 F.3d 1128, 1135 (9th Cir.2004) (omission in original) (citing United States v. McConney, 728 F.2d 1195, 1199 (9th Cir.1984) (en banc)). To prove that such circumstances existed, the government cannot rely on “speculation about what may or might have happened.” See Howard, 828 F.2d at 555. Instead, it must point to “specific and articulable facts which, taken together with rational inferences ..., support the warrantless intrusion.” Id. (internal quotations omitted) (omission in original). A court, in turn, must view the exigencies “from the totality of circumstances known to the officers at the time of the warrantless intrusion.” Id.See also United States v. Arellano-Ochoa, 461 F.3d 1142 (9th Cir.2006) (“Whether exigent circumstances exist in a given case is a fact-specific inquiry that depends on the totality of the circumstances.”). It must consider whether, in light of these circumstances, an officer’s decision to enter without a warrant was “objectively reasonable.” Brooks, 367 F.3d at 1136.
As the majority points out, our court and other circuits have indeed recognized that domestic violence cases present a unique set of dangers that may, at times, “override considerations of privacy.” Id. At the same time, there is no domestic abuse exception to the Fourth Amendment generally, or to the limitations on the exigent circumstances exception in particular. Instead, in those domestic violence cases where courts have upheld a finding of exigent circumstances, the police were presented with clear evidence that the victim was both still in the vicinity of the abuser and still in danger. See United States v. Martinez, 406 F.3d 1160, 1164 (9th Cir. 2005) (“When the domestic violence victim is still in the home, circumstances may justify an entry pursuant to the exigency doctrine.”). In United States v. Brooks, for example, we held that exigent circumstances supported an officer’s warrantless entry into a hotel room when the officer was dispatched to the room after a guest called 911 to report “sounds of a woman being beaten” from the room next door. 367 F.3d at 1130. When the officer ar*1148rived, the defendant answered the door and confirmed that a woman had been in the room, that she had been “very loud,” and that she was now in the bathroom. Id. Faced with this set of circumstances— and considering the fact that the officer could not see or hear the woman but could observe that the hotel room was in “total disarray” — this court held that the officer’s decision to enter the room without a warrant was justified “by an objectively reasonable belief that a woman might be injured and entry was ‘necessary to prevent physical harm.’ ” Id. at 1130, 1135. See also Martinez, 406 F.3d at 1163-64 (holding that no exigent circumstances justified a warrantless entry where police arrived at the scene and found the domestic abuse victim already outside the home, in the front yard); United States v. Davis, 290 F.3d 1239, 1243-44 (10th Cir.2002) (finding no exigent circumstances to justify a warrantless entry, where police responded to a domestic disturbance call only to have the victim “appear[ ] without any signs of harm”); United States v. Cunningham, 133 F.3d 1070, 1071-73 (8th Cir.1998) (holding that exigent circumstances justified a warrantless search of the home where police received a 911 call from a woman who identified herself and claimed that she was being held against her will and where, upon arriving at the scene, police “could hear a woman crying inside the apartment”); Tierney v. Davidson, 133 F.3d 189, 197 (2d Cir.1998) (holding that exigent circumstances justified a warrant-less entry and search of a home where the officer responded to a 911 call reporting a domestic disturbance and, after arriving at the scene, spoke to neighbors who informed him “that the shouting had ended right before his arrival,” thus allowing the officer to reasonably conclude that “both antagonists remained in the house”).
In the case before us, however, the government points to no specific facts leading to the “objectively reasonable” belief that Walker, following her phone call to 911, somehow found herself back inside the apartment where Black was staying and was therefore in need of medical assistance. Instead, all of the facts available to the police that morning point to the conclusion that Walker was outside the apartment, not trapped within it.
The police knew that, at 8:39 a.m., Walker had called the 911 dispatcher from a local grocery store. Twice, the dispatcher asked if Walker needed medical assistance; twice, Walker refused. At the end of the conversation, Walker told the dispatcher that her mother was with her and that, together, they would return to the apartment on 804 J Street. She informed the dispatcher that she would stay outside the apartment.
The first officer arrived at 804 J Street, about three minutes after Walker called 911. He testified during the evidentiary hearing that it would have taken him about two minutes to drive from the grocery store to the apartment. Even assuming that Walker left the store immediately after she got off the phone with the 911 dispatcher and that she immediately headed to 804 J Street, she still would have only arrived back at the apartment about one minute before the police. That is not enough time for Black to somehow get Walker back into the apartment, and to injure her, and then to leave, as the government theorizes could have been the case. Further, at no point during his time outside the apartment, even immediately upon his arrival, did the first officer hear any noises coming from inside the residence.
The majority argues that this timeline of the morning’s events somehow errs by relying — seemingly, too much — on the evidence supported by the record. And yet, these are the facts before us and the facts upon which we must rely to make our *1149decision. To be sure, none of the information here affirmatively confirms exactly where Walker was after she made her 911 call. Neither, however, does it constitute the kind of “specific and articulable facts” that, when “taken together with rational inferences” would “support the warrant-less intrusion.” Howard, 828 F.2d at 555. Instead, the government’s arguments amount to no more than insufficient “speculation.” Id.2
For these reasons, I respectfully dissent.

. Were I to reach the issue decided in Part II of the disposition, regarding sentencing, I would agree with the majority’s conclusion.


. Unlike the majority, I find the government's argument equally unconvincing when considered under the "emergency aid doctrine.” Both the emergency aid doctrine and the exigent circumstances exception require an "objective reasonableness” analysis. Because police actions that morning were no more "objectively reasonable” under the emergency aid doctrine exception than they were under the exigent circumstances exception, I believe that their argument under this alternative exception to the Fourth Amendment's warrant requirement fails as well.

